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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

JIMMY DELL SKELTON and
SABRINA L. SKELTON                                              19-12541-JDW

                          ORDER WITHDRAWING
                   OBJECTION TO CONFIRMATION (DKT. #16)

      THIS MATTER came before the Court on the Objection to Confirmation (Dkt.

#16) (the “Objection”) filed by Locke D. Barkley, Chapter 13 Trustee (the “Trustee”)

and the Court being advised that the Trustee requests to withdraw the Objection as

the Debtors have filed a First Amended Chapter 13 Plan (Dkt. #18) which renders

the Objection moot. Upon request by the Trustee,

      IT IS ORDERED that the Objection shall be and is hereby withdrawn.

                                ##END OF ORDER##
SUBMITTED BY:

/s/ Melanie T. Vardaman
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